Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 1 of 12
                                             USDC SDNY
                                             DOCUMENT
                                             ELECTRONICALLY FILED
                                             DOC #: _________________
                                             DATE FILED: September  27, 2016
                                                          ______________
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 2 of 12
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 3 of 12
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 4 of 12
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 5 of 12
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 6 of 12
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 7 of 12
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 8 of 12
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 9 of 12
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 10 of 12
Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 11 of 12
       Case 1:16-cv-03427-KPF Document 19 Filed 09/27/16 Page 12 of 12




Dated: New York, New York          SO ORDERED.
       September 27, 2016




                                   HON. KATHERINE POLK FAILLA
                                   UNITED STATES DISTRICT JUDGE
